     Case 4:20-cv-05640-YGR Document 488 Filed 04/26/21 Page 1 of 14




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16   Epic Games, Inc.

17
                               UNITED STATES DISTRICT COURT
18
                       FOR THE NORTHERN DISTRICT OF CALIFORNIA
19
                                        OAKLAND DIVISION
20
21    EPIC GAMES, INC.,                    )         Case No. 4:20-cv-05640-YGR-TSH
                                           )
22
             Plaintiff, Counter-defendant, )         EPIC GAMES, INC.’S TENTATIVE
                                           )         UPDATED TRIAL WITNESS LIST
23
                    v.                     )
24                                         )         The Honorable Yvonne Gonzalez Rogers
      APPLE INC.,                          )
25                                         )         Trial: May 3, 2021
26            Defendant, Counterclaimant. )
                                           )
27
28

               EPIC GAMES, INC.’S TENTATIVE UPDATED TRIAL WITNESS LIST
                              Case No. 4:20-cv-05640-YGR-TSH
       Case 4:20-cv-05640-YGR Document 488 Filed 04/26/21 Page 2 of 14




 1          Pursuant to the Court’s Pretrial Order No. 4 (ECF No. 468), Plaintiff and Counter-
 2   Defendant Epic Games, Inc. (“Epic”) files its tentative updated list of trial witnesses, other than
 3   for impeachment or additional rebuttal, reserving its rights to supplement or amend its list for
 4   good cause or in response to revisions by Apple Inc. (“Apple”) to Apple’s witness list and other
 5   pre-trial disclosures. Epic also reserves the right to substitute deposition designations for live
 6   testimony, and vice versa, including based on the availability or non-availability of any witness to
 7   appear at trial. Epic has previously filed the curricula vitae of its expert witnesses and summaries
 8   of their opinions (see ECF No. 376), and these materials are included in the Joint Trial Readiness
 9   Binder within Epic’s expert reports.
10   DATE: April 26, 2021                           CRAVATH, SWAINE & MOORE LLP
11                                                  /s/   Katherine B. Forrest
                                                          Katherine B. Forrest
12
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                                                    GARY A. BORNSTEIN (pro hac vice)
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26
                                                    Attorneys for Plaintiff and Counter-defendant
27                                                  Epic Games, Inc.

28

                 EPIC GAMES, INC.’S TENTATIVE UPDATED TRIAL WITNESS LIST
                                Case No. 4:20-cv-05640-YGR-TSH
                                               -2-
                             Case 4:20-cv-05640-YGR Document 488 Filed 04/26/21 Page 3 of 14




                                                               Fact Witnesses
 1
 2   Witness             Epic’s Brief Statement      Estimated        Estimated     Estimated     Appearance        “Will”
                         of Substance of             Length of        Length of     Length of                       Call/Use or
 3                       Testimony                   Direct           Cross-        Re-Direct                       “May”
 4                                                   Examination      Examination   Examination                     Call/Use

 5                                                             Epic Witnesses

 6   Steve Allison,      Epic Games Store            30 minutes       30 minutes    10 minutes    Live, in person   Will Call
     General Manager,    (business)
 7
     Epic Games Store
 8
     Andrew Grant,       Epic’s membership in the 1 hour              30 minutes    10 minutes    Live, in person   Will Call
 9   Engineering         Apple Developer
     Fellow              Program; engineering and
10                       development of Epic’s
11                       products for various
                         platforms; Epic Direct
12                       Payment on iOS
13   Thomas Ko,          Epic’s payment              30 minutes       15 minutes    15 minutes    Live, in person   Will Call
14   Senior Director,    processing services;
     Head of Online      Apple’s payment
15   Business Strategy   processing services; Epic
     and Operations      Direct Payment on iOS
16
17   Tim Sweeney,        Epic’s history and          3 hours          3 hours       40 minutes    Live, in person   Will Call
     Founder and Chief   business; Epic’s business
18   Executive Officer   discussions with Apple
                         and Google; Epic Direct
19                       Payment on iOS; App
20
                                EPIC GAMES, INC.’S TENTATIVE UPDATED TRIAL WITNESS LIST
21                                             Case No. 4:20-cv-05640-YGR-TSH
                                                              -3-
22
                                Case 4:20-cv-05640-YGR Document 488 Filed 04/26/21 Page 4 of 14




     Witness               Epic’s Brief Statement        Estimated        Estimated        Estimated        Appearance          “Will”
 1
                           of Substance of               Length of        Length of        Length of                            Call/Use or
 2                         Testimony                     Direct           Cross-           Re-Direct                            “May”
                                                         Examination      Examination      Examination                          Call/Use
 3
                           Store policies and
 4
                           practices; Epic’s
 5                         marketing and
                           promotional activities;
 6                         Epic’s efforts to compete
                           in app distribution and in-
 7
                           app payment processing
 8
     Matthew               Epic’s marketing and          30 minutes       30 minutes       15 minutes       Live, in person     Will Call
 9   Weissinger, Vice      promotional activities;
     President,            marketing and
10
     Marketing             promotional support
11                         services offered by video
                           game consoles and
12                         mobile operating system
                           providers, including
13
                           Apple
14
     Document              Admission of business         5 minutes                                          Live, in person     May Call
15   custodian 1           records and other                                                                or may request
                           documents in Epic’s                                                              leave to appear
16
                           possession, as necessary                                                         remotely.
17
     ____________________________
18   1
       Epic expects that the parties will meet and confer regarding, and potentially stipulate to, the admission of business records and other
19   documents, but Epic reserves its right to call witnesses to support the admission of business records and other documents, if
     necessary.
20
                                   EPIC GAMES, INC.’S TENTATIVE UPDATED TRIAL WITNESS LIST
21                                                Case No. 4:20-cv-05640-YGR-TSH
                                                                 -4-
22
                              Case 4:20-cv-05640-YGR Document 488 Filed 04/26/21 Page 5 of 14




     Witness              Epic’s Brief Statement      Estimated      Estimated     Estimated     Appearance       “Will”
 1
                          of Substance of             Length of      Length of     Length of                      Call/Use or
 2                        Testimony                   Direct         Cross-        Re-Direct                      “May”
                                                      Examination    Examination   Examination                    Call/Use
 3
                                                             Apple Witnesses
 4
 5   Matt Fischer, Vice   App Store business          45 minutes     1 hour        30 minutes    Live, in person  Will
     President, App       strategy; App Store                                                    or by Deposition Call/Use
 6   Store                financial performance;                                                 Designation
                          App Store policies and
 7
                          practices; Apple’s market
 8                        power over iOS
                          developers; and/or the
 9                        subjects of designated
                          testimony
10
11   Trystan              App Store review policies 1 hour           2 hours       30 minutes    Live, in person  Will
     Kosmynka, Senior     and practices; iOS and                                                 or by Deposition Call/Use
12   Director, App        macOS engineering,                                                     Designation
     Review               security and privacy
13
                          issues; and/or the subjects
14                        of designated testimony

15   Document             Admission of business       5 minutes                                  Live             May Call
     custodian            records and other
16                        documents in Apple’s
17                        possession, as necessary

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                                 EPIC GAMES, INC.’S TENTATIVE UPDATED TRIAL WITNESS LIST
21                                              Case No. 4:20-cv-05640-YGR-TSH
                                                               -5-
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                             Case 4:20-cv-05640-YGR Document 488 Filed 04/26/21 Page 6 of 14




     Witness             Epic’s Brief Statement     Estimated     Estimated     Estimated     Appearance    “Will”
 1
                         of Substance of            Length of     Length of     Length of                   Call/Use or
 2                       Testimony                  Direct        Cross-        Re-Direct                   “May”
                                                    Examination   Examination   Examination                 Call/Use
 3
     Eddy Cue, Senior    The subjects of            1 hour        10 minutes                  Deposition    Will Use
 4
     Vice President,     designated testimony,                                                Designation
 5   Internet Software   which include: lack of
     and Services        competition among
 6                       mobile devices and
                         mobile operating system
 7
                         software; App Store
 8                       business strategy; App
                         Store financial
 9                       performance; current and
10                       historical App Store
                         policies and practices;
11                       Apple’s prior antitrust
                         violations
12
     Craig Federighi,    The subjects of            15 minutes    5 minutes                   Deposition    Will Use
13
     Senior Vice         designated testimony,                                                Designation
14   President,          which include: iOS and
     Software            macOS engineering,
15   Engineering         security, privacy and
16                       competition issues; App
                         Store policies and
17                       practices
18
19
20
                                EPIC GAMES, INC.’S TENTATIVE UPDATED TRIAL WITNESS LIST
21                                             Case No. 4:20-cv-05640-YGR-TSH
                                                              -6-
22
                             Case 4:20-cv-05640-YGR Document 488 Filed 04/26/21 Page 7 of 14




     Witness             Epic’s Brief Statement     Estimated      Estimated     Estimated     Appearance    “Will”
 1
                         of Substance of            Length of      Length of     Length of                   Call/Use or
 2                       Testimony                  Direct         Cross-        Re-Direct                   “May”
                                                    Examination    Examination   Examination                 Call/Use
 3
     Scott Forstall,     The subjects of            1 hour and 5   10 minutes                  Deposition    Will Use
 4
     Senior Vice         designated testimony,      minutes                                    Designation
 5   President, iOS      which include: iOS and
     Software (former)   macOS engineering,
 6                       security, privacy and
                         competition issues;
 7
                         historical App Store
 8                       policies and practices;
                         Apple’s in-app
 9                       purchasing function
10
     Eric Friedman,      The subjects of            30 minutes     5 minutes                   Deposition    Will Use
11   Head of Fraud       designated testimony,                                                 Designation
     Engineering,        which include: App
12   Algorithms, and     Store review process;
     Risk                fraud and other abuse in
13
                         Apple’s ecosystem
14
15
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                                EPIC GAMES, INC.’S TENTATIVE UPDATED TRIAL WITNESS LIST
21                                             Case No. 4:20-cv-05640-YGR-TSH
                                                              -7-
22
                               Case 4:20-cv-05640-YGR Document 488 Filed 04/26/21 Page 8 of 14




     Witness              Epic’s Brief Statement       Estimated     Estimated     Estimated     Appearance    “Will”
 1
                          of Substance of              Length of     Length of     Length of                   Call/Use or
 2                        Testimony                    Direct        Cross-        Re-Direct                   “May”
                                                       Examination   Examination   Examination                 Call/Use
 3
     Eric Gray,           The subjects of              15 minutes    5 minutes                   Deposition    Will Use
 4
     Director,            designated testimony,                                                  Designation
 5   Commerce,            which include:
     Subscriptions &      inefficiencies and lack of
 6   Pricing              integration of Apple’s
                          payment processing
 7
                          services; app pricing and
 8                        inelasticity of demand;
                          fraud and other abuse in
 9                        Apple’s ecosystem
10
     C.K. Haun, Senior    The subjects of              50 minutes    5 minutes                   Deposition    Will Use
11   Director,            designated testimony,                                                  Designation
     Developer            which include: App
12   Technical Services   Store review policies and
                          practices; iOS and
13
                          macOS engineering,
14                        security and privacy
                          issues
15
16
17
18
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                                 EPIC GAMES, INC.’S TENTATIVE UPDATED TRIAL WITNESS LIST
21                                              Case No. 4:20-cv-05640-YGR-TSH
                                                               -8-
22
                              Case 4:20-cv-05640-YGR Document 488 Filed 04/26/21 Page 9 of 14




     Witness              Epic’s Brief Statement      Estimated     Estimated     Estimated     Appearance    “Will”
 1
                          of Substance of             Length of     Length of     Length of                   Call/Use or
 2                        Testimony                   Direct        Cross-        Re-Direct                   “May”
                                                      Examination   Examination   Examination                 Call/Use
 3
     Ron Okamoto,         The subjects of           20 minutes      5 minutes                   Deposition    Will Use
 4
     Vice President,      designated testimony,                                                 Designation
 5   Worldwide            which include: benefits
     Developer            Apple receives from other
 6   Relations (former)   software developers,
                          including Epic; Apple’s
 7
                          market power over iOS
 8                        developers

 9   Carson Oliver,       The subjects of             10 minutes    5 minutes                   Deposition    Will Use
     Director of          designated testimony,                                                 Designation
10
     Business             which include: App
11   Management, App      Store policies and
     Store                practices; Apple’s market
12                        power over iOS
                          developers
13
14   Shaan Pruden,        The subjects of             10 minutes    5 minutes                   Deposition    Will Use
     Senior Director of   designated testimony,                                                 Designation
15   Partnership          which include: benefits
     Management and       that Apple receives from
16
     Worldwide            other software
17   Developer            developers, including
     Relations            Epic
18
19
20
                                 EPIC GAMES, INC.’S TENTATIVE UPDATED TRIAL WITNESS LIST
21                                              Case No. 4:20-cv-05640-YGR-TSH
                                                               -9-
22
                              Case 4:20-cv-05640-YGR Document 488 Filed 04/26/21 Page 10 of 14




     Witness              Epic’s Brief Statement       Estimated     Estimated     Estimated     Appearance        “Will”
 1
                          of Substance of              Length of     Length of     Length of                       Call/Use or
 2                        Testimony                    Direct        Cross-        Re-Direct                       “May”
                                                       Examination   Examination   Examination                     Call/Use
 3
     Mark Rollins,        The subjects of              10 minutes                                Deposition        Will Use
 4
     Finance Manager      designated testimony,                                                  Designation
 5                        which include: Apple
                          financials; App Store
 6                        profit and loss statements
 7
     Phillip Shoemaker,   The subjects of           55 minutes       15 minutes                  Deposition        Will Use
 8   Technology           designated testimony,                                                  Designation
     Director, App        which include: historical
 9   Review (former)      App Store review policies
                          and practices
10
11                                                        Third-Party Witnesses

12   Lori Wright, Vice    Distribution of software; 1 hour           1 hour        10 minutes    Live, in person   Will Call
     President, Xbox      Xbox video game console
13   Business             business and operations;
14   Development,         Xbox cloud gaming,
     Microsoft            including xCloud and
15   Corporation          Game Pass; interactions
                          with Apple
16
17
18
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                                 EPIC GAMES, INC.’S TENTATIVE UPDATED TRIAL WITNESS LIST
21                                              Case No. 4:20-cv-05640-YGR-TSH
                                                              - 10 -
22
                              Case 4:20-cv-05640-YGR Document 488 Filed 04/26/21 Page 11 of 14




     Witness              Epic’s Brief Statement        Estimated       Estimated     Estimated     Appearance        “Will”
 1
                          of Substance of               Length of       Length of     Length of                       Call/Use or
 2                        Testimony                     Direct          Cross-        Re-Direct                       “May”
                                                        Examination     Examination   Examination                     Call/Use
 3
     Benjamin Simon,      App distribution;             1 hour          30 minutes    10 minutes    Live, in person   Will Call
 4
     Founder and Chief    participation in the Apple
 5   Executive Officer,   Developer Program; App
     Yoga Buddhi Co.      Store review process;
 6                        interactions with Apple
 7
     Aashish Patel,       App distribution;          45 minutes         45 minutes    10 minutes    Live, in person   Will Call
 8   Director of          Nvidia’s GeForce Now
     Product              service and business
 9   Management,          model; differences
     Nvidia               between streamed apps
10
     Corporation          and locally hosted apps;
11                        differences between
                          native apps and web
12                        apps; App Store review
                          process; interactions with
13
                          Apple; and/or the subjects
14                        of designated testimony

15   Adrian Ong,          The subjects of               1 hour and 15   5 minutes                   Deposition        Will Use
     Senior Vice          designated testimony,         minutes                                     Designation
16
     President of         which include: App
17   Operations, Match    distribution; participation
     Group                in the Apple Developer
18                        Program; App Store
                          review process;
19
                          interactions with Apple;
20
                                 EPIC GAMES, INC.’S TENTATIVE UPDATED TRIAL WITNESS LIST
21                                              Case No. 4:20-cv-05640-YGR-TSH
                                                              - 11 -
22
                               Case 4:20-cv-05640-YGR Document 488 Filed 04/26/21 Page 12 of 14




     Witness               Epic’s Brief Statement        Estimated       Estimated     Estimated     Appearance         “Will”
 1
                           of Substance of               Length of       Length of     Length of                        Call/Use or
 2                         Testimony                     Direct          Cross-        Re-Direct                        “May”
                                                         Examination     Examination   Examination                      Call/Use
 3
                           differences between
 4
                           native apps and web
 5                         experiences; Match
                           Group’s payment
 6                         processing capabilities;
                           effects of Apple’s 30%
 7
                           fee on Match Group and
 8                         its users; user acquisition

 9
                                                               Expert Witnesses
10
11
          Witness             Summary of Theory             Estimated      Estimated    Estimated    Appearance           “Will”
12                            and Conclusions and           Length of       Length of Length of Re-                      Call/Use
13                           Bases Therefor and CV            Direct         Cross-       Direct                        or “May”
                                                           Examination    Examination Examination                        Call/Use
14   Susan Athey,            See expert disclosure        55 minutes      1.5 hours   30 minutes    Live, in person     Will Call
     Economics of            served February 16,
15   Technology              2021 (ECF No. 376)
16   Professor, Stanford
     University Graduate
17   School of Business
     Ned S. Barnes,          See expert disclosure        10 minutes      1 hour       20 minutes     Live, in person   Will Call
18   Managing Director,      served February 16,
19   Berkeley Research       2021 (ECF No. 376)
     Group
20
                                  EPIC GAMES, INC.’S TENTATIVE UPDATED TRIAL WITNESS LIST
21                                               Case No. 4:20-cv-05640-YGR-TSH
                                                               - 12 -
22
                           Case 4:20-cv-05640-YGR Document 488 Filed 04/26/21 Page 13 of 14




           Witness         Summary of Theory         Estimated       Estimated    Estimated    Appearance           “Will”
 1
                           and Conclusions and        Length of       Length of Length of Re-                      Call/Use
 2                        Bases Therefor and CV        Direct          Cross-       Direct                        or “May”
                                                    Examination     Examination Examination                        Call/Use
 3   Michael I. Cragg,    See expert disclosure    1 hour and 25    1 hour      20 minutes    Live, in person     Will Call
 4   Principal and        served March 15, 2021    minutes
     Chairman, The        (ECF No. 376)
 5   Brattle Group
 6   David Evans,         See expert disclosures   4 hours and 30   4.5 hours    1 hour         Live, in person   Will Call
     Chairman, Global     served February 16,      minutes
 7   Economics Group      2021 and March 15,
 8                        2021 (ECF No. 376)
     Wenke Lee, Chair,    See expert disclosures   1 hour           1 hour       20 minutes     Live, in person   Will Call
 9   College of           served February 16,
     Computing, Georgia   2021 and March 15,
10
     Institute of         2021 (ECF No. 376)
11   Technology
     Nancy A.             See expert disclosure    10 minutes       30 minutes   20 minutes     Live, in person   Will Call
12   Mathiowetz,          served March 15, 2021
13   Professor Emerita,   (ECF No. 376)
     Department of
14   Sociology, the
     University of
15   Wisconsin-
16   Milwaukee
     James Mickens,       See expert disclosure    1 hour           1 hour       20 minutes     Live, in person   Will Call
17   Professor of         served February 16,
     Computer Science,    2021 (ECF No. 376)
18   Harvard University
19
20
                               EPIC GAMES, INC.’S TENTATIVE UPDATED TRIAL WITNESS LIST
21                                            Case No. 4:20-cv-05640-YGR-TSH
                                                            - 13 -
22
                         Case 4:20-cv-05640-YGR Document 488 Filed 04/26/21 Page 14 of 14




          Witness        Summary of Theory        Estimated     Estimated    Estimated    Appearance         “Will”
 1
                         and Conclusions and      Length of     Length of  Length of Re-                    Call/Use
 2                      Bases Therefor and CV       Direct        Cross-       Direct                      or “May”
                                                 Examination   Examination Examination                      Call/Use
 3   Peter E. Rossi,    See expert disclosure   10 minutes     30 minutes  20 minutes    Live, in person   Will Call
 4   Professor of       served February 16,
     Marketing,         2021 (ECF No. 376)
 5   Economics and
     Statistics, UCLA
 6
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                            EPIC GAMES, INC.’S TENTATIVE UPDATED TRIAL WITNESS LIST
21                                         Case No. 4:20-cv-05640-YGR-TSH
                                                         - 14 -
22
